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                                              2201

                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION


UNITED STATES OF AMERICA,                           )
                                                    )
            Plaintiff,                              )
                                                    )
      vs.                                           )           Case No. 4:08CR00405 CDP
                                                    )
ANDRENOS LAMAR POWELL,                              )
                                                    )
            Defendant.                              )

                                                 ORDER

         The purpose for which cash bail was posted in the above styled matter having now been

served, the Clerk is hereby ORDERED to draw a Registry Check in the sum of $2,500.00 to the

surety of record.




                                                    CATHERINE D. PERRY
                                                    CHIEF UNITED STATES DISTRICT JUDGE

            Dated this 31st day of July, 2009.

  **************************************************************************
                    VERIFICATION OF DEFENDANT'S STATUS
                        (to be completed by the district Court)

I certify that the amount of the bond listed above is being held in the Registry of the United States
District Court-Eastern district of Missouri. I also certify that the status of the defendant is such that
the conditions of the bond have been met as of this 17th day of July, 2009.


                                                    /s/ Cynthia Kornberger
                                                        Deputy Clerk
